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15                     UNITED STATES DISTRICT COURT
16               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                 (San Diego)
17
18 AL OTRO LADO, Inc., et al.,                 Case No. 3:17-cv-02366-BAS-KSC
19                            Plaintiffs,      Hon. Cynthia A. Bashant
20                                             DEFENDANTS’ OPPOSITION
                        v.                     TO PLAINTIFFS’ EX PARTE
21
                                               EMERGENCY MOTION TO
22 CHAD F. WOLF, Acting Secretary of           ENFORCE PRELIMINARY IN-
   Homeland Security, et al., in their offi-   JUNCTION AND TEMPORAR-
23
   cial capacities,*                           ILY ENJOIN REMOVAL OF
24                                             PRELIMINARY INJUNCTION
25                          Defendants         CLASS MEMBER
26    *
        Pursuant to Fed. R. Civ. P. 25(d), Acting Commissioner Mark A. Morgan is auto-
27    matically substituted as a Defendant for former Commissioner McAleenan, and Ex-
28    ecutive Assistant Commissioner William A. Ferrara is automatically substituted as
      a Defendant for former Executive Assistant Commissioner Owen.
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1                                      INTRODUCTION
2           For two reasons, this Court should deny Plaintiffs’ Ex Parte Emergency Mo-
3     tion to Enforce Preliminary Injunction and Temporarily Enjoin Removal of Prelim-
4     inary Injunction Class Member (ECF No. 574).
5           First, the government did not violate the Order Granting Plaintiffs’ Motion
6     for Preliminary Injunction (ECF No. 330; PI Order) by applying the rule to
7                                    (Applicant) before the order was issued on November
8     19, 2019, so this Court’s inherent authority to enforce the preliminary-injunction
9     order does not provide a basis to enjoin Applicant’s removal. U.S. Citizenship and
10    Immigration Services (USCIS) issued Applicant a negative credible-fear determina-
11    tion on October 29, 2019 because Applicant was determined to be ineligible for asy-
12    lum pursuant to the interim final rule entitled “Asylum Eligibility and Procedural
13    Modifications,” 84 Fed. Reg. 33,829 (July 16, 2019) (the transit rule), and because
14    Applicant’s testimony was not credible. An immigration judge affirmed the negative
15    determination on November 14, 2019, rendering it final. This determination was and
16    is permissible under the preliminary-injunction order because the order is prospec-
17    tive only, and it does not require the government to reopen and reverse a negative
18    credible-fear determination issued pursuant to the rule that became final before the
19    injunction issued. Moreover, USCIS screened Applicant for class membership in a
20    two-hour interview on March 25, 2020 (for which her attorney declined to be present
21    and did not seek to reschedule), and Applicant failed to establish that she was subject
22    to metering prior to the rule’s effective date. Plaintiffs’ belated attorney declarations
23    do not show otherwise. Thus, there is no violation of the preliminary injunction and,
24    consequently, no basis to enjoin Applicant’s removal in the name of enforcing the
25    injunction. But even if there had been a violation, any error would have been harm-
26    less because the adverse credibility determination (which, under 8 U.S.C.
27    § 1252(a)(2)(A)(iii), is entirely outside the scope of judicial review) supplies an in-
28    dependent basis for Applicant’s negative credible-fear determination.


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1           Second, Plaintiffs do not establish their entitlement to injunctive relief under
2     the traditional four-factor test. Plaintiffs are not likely to succeed on the merits of
3     their claim because the Court lacks independent authority to enjoin Applicant’s re-
4     moval under the Immigration and Nationality Act (INA), at 8 U.S.C.
5     §§ 1252(a)(2)(A), (e), (g). Moreover, Plaintiffs fail to show that the equities and
6     public interest favor a stay of Applicant’s removal. Class counsel attests that Appli-
7     cant fears returning to Cameroon, but Applicant’s own testimony was so inconsistent
8     that the asylum officer could not be sure of Applicant’s true identity. Moreover, Ap-
9     plicant, through counsel, twice sought reconsideration of her negative credible-fear
10    determination. She also received an Al Otro Lado screening interview. But at no
11    point did she claim or establish that she was entitled to the benefits of the Al Otro
12    Lado preliminary injunction. “There is always a public interest in prompt execution
13    of removal orders: The continued presence of an alien lawfully deemed removable
14    undermines the streamlined removal proceedings [that Congress] established, and
15    ‘permit[s] and prolong[s] a continuing violation of United States law.’” Nken v.
16    Holder, 556 U.S. 418, 436 (2009) (quoting Reno v. Am.-Arab Anti-Discrimination
17    Comm. (AADC), 525 U.S. 471, 490 (1999)). That interest is severely undermined
18    when a party at the eleventh hour raises arguments that have long been available to
19    it for the purpose of thwarting a lawful removal. Plaintiffs fail to establish their en-
20    titlement to emergency injunctive relief under the four-factor test.
21          This Court should deny Plaintiffs’ Ex Parte Motion.
22                                      BACKGROUND
23    A.    The Rule and This Court’s Preliminary-Injunction Order
24          On July 16, 2019, the Attorney General and the Acting Secretary of Homeland
25    Security promulgated the transit rule. See 84 Fed. Reg. 33,829. With certain excep-
26    tions, the rule renders ineligible for asylum “any alien who enters, attempts to enter,
27    or arrives in the United States across the southern land border on or after July 16,
28


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1     2019, after transiting through at least one country outside the alien’s country of cit-
2     izenship, nationality, or last lawful habitual residence en route to the United States,”
3     unless she applied for and was denied protection from persecution or torture in at
4     least one such country. Id. at 33,843.
5              On November 19, 2019, this Court granted a preliminary injunction. It certi-
6     fied a provisional class of “all non-Mexican asylum-seekers who were unable to
7     make a direct asylum claim at a U.S. [port of entry] before July 16, 2019 because of
8     the U.S. Government’s metering policy, and who continue to seek access to the U.S.
9     asylum process.” PI Order 36. The Court ordered: “Defendants are hereby enjoined
10    from applying the [rule] to members of the aforementioned provisionally certified
11    class and ordered to return to the pre-[rule] practices for processing the asylum ap-
12    plications of members of the certified class.” Id. (emphases altered).
13    B.       Applicant’s Proceedings
14             Applicant, a citizen of Cameroon, arrived in the United States on July 29,
15    2019, at the San Ysidro Port of Entry in San Diego, California. See Gov’t Ex. 1, at
16    32.1 She was found inadmissible and ordered removed from the United States pur-
17    suant to 8 U.S.C. § 1225(b)(1). See Gov’t Ex. 1, at 42.
18             On August 30, 2019, and October 23, 2019, an asylum officer conducted cred-
19    ible-fear interviews with Applicant in French through an interpreter. See Gov’t Ex.
20    1, at 6–19, 21–30. Applicant testified that she traveled through multiple countries
21    before arriving in the United States, and that she did not apply for asylum in any of
22    them. See Gov’t Ex. 1, at 26. The asylum officer determined that Applicant was
23    ineligible for asylum pursuant to the rule. See Gov’t Ex. 1, at 26.
24             Based on several unexplained discrepancies in Applicant’s testimony, the asy-
25    lum officer also found Applicant not credible and that Applicant failed to establish
26    her identity with a reasonable degree of certainty. Gov’t Ex. 1, at 35, 36, 37–38. For
27
28    1
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1     stay pending appeal. See Gov’t Ex. 2, at 5–20. On September 8, 2020, the immigra-
2     tion court rejected the filing. See Gov’t Ex. 2, at 22–23.
3                                  STANDARD OF REVIEW
4           A court has inherent authority to enforce compliance with its lawful orders.
5     See MVC Technologies USA Inc. v. Kendrick, No. 19-cv-3247, 2019 WL 9598365,
6     at *1 (D. Ariz. Oct. 15, 2019) (citing Spallone v. United States, 493 U.S. 265, 276
7     (1990)). When ordering compliance, a court “is obliged to use the least possible
8     power adequate to the end proposed.” Spallone, 493 U.S. at 276 (citations and quo-
9     tation marks omitted).
10          Separately, injunctive relief is an “extraordinary remedy that may only be
11    awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.
12    NRDC, Inc., 555 U.S. 7, 22 (2008). A party seeking a preliminary injunction must
13    show that “‘[they are] likely to succeed on the merits, that [they are] likely to suffer
14    irreparable harm in the absence of preliminary relief, that the balance of equities tips
15    in [their] favor, and that an injunction is in the public interest.’” Am. Trucking Ass’ns
16    v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter, 555
17    U.S. at 20).
18                                        ARGUMENT
19    I.    The Preliminary-Injunction Order Does Not Provide Authority to Enjoin
            Applicant’s Removal.
20
            A.       Application of the Rule to Applicant is Consistent with the Prelim-
21                   inary-Injunction Order.
22          This Court’s inherent authority to enforce the preliminary injunction does not
23    provide a basis to enjoin Applicant’s removal because the application of the rule to
24    Applicant was and is lawful and is consistent with the Court’s order. The prelimi-
25    nary-injunction order was issued on November 19, 2019. The order states: “Defend-
26    ants are hereby ENJOINED from applying the [rule] to members of the ... provi-
27    sionally certified class and ORDERED to return to the pre-[rule] practices for pro-
28    cessing the asylum applications of members of the certified class.” PI Order 36. The

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1     phrase “Defendants are hereby enjoined” is prospective only. It means that Defend-
2     ants cannot apply the rule to class members whose cases are pending when or after
3     the order issued. But as explained, it does not require Defendants to reopen rule-
4     based negative credible-fear determinations that became final before the order was
5     issued. See Defs.’ Opp. to Pls.’ Mot. for Clarification of the Prelim. Inj. 11–16 (ECF
6     No. 508); see also D.A.M. v. Barr, — F. Supp. 3d —, 2020 WL 5525056, at *8
7     (D.D.C. Sept. 15, 2020) (“order vacating the [rule] means the government cannot
8     issue any more orders of removal under that rule, but it does not mean that petition-
9     ers’ removal orders (along with thousands of others) were automatically extin-
10    guished by operation of [the] judgment”).
11          Similarly, the order “to return to the pre-[rule] practices for processing the
12    asylum applications of members of the certified class,” PI Order 36, does not require
13    the government to reopen final rule-based removal orders. That would be a separate,
14    affirmative requirement that is not included in the language of the injunctive order.
15    Returning to “pre-[rule] practices” merely requires the government to adjudicate the
16    cases before it without reference to the rule, in both substance and procedure. Those
17    “practices” do not require USCIS to affirmatively reopen closed administrative pro-
18    ceedings as a matter of course. See 8 C.F.R. § 1208.30(g)(2)(iv)(A) (requiring the
19    case to “be returned to [DHS] for removal of the alien” “[i]f the immigration judge
20    concurs with the [negative credible-fear determination]”; providing that “[t]he im-
21    migration judge’s decision is final and may not be appealed”; and providing that
22    DHS “may,” but need not, “reconsider a negative credible fear finding”).
23          Nor does the fact that the injunction extends to all “members of the ... provi-
24    sionally certified class,” PI Order 36, mean that Applicant (even assuming she is a
25    class member) cannot be removed unless the government reopens her proceedings
26    and adjudicates her claim without reference to the rule. The class-certification order
27    undoubtedly accounts for facts that pre-date the order, namely, being prevented from
28    “mak[ing] a direct asylum claim at a U.S. POE before July 16, 2019 because of the


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1     U.S. Government’s metering policy.” PI Order 36. But the preliminary-injunction
2     order does not require any action as to class members whose claims have already
3     been adjudicated. Even where “a decision is retroactive”—which is not the case
4     here—that “does not mean that final judicial or administrative decisions are to be
5     reopened” absent an affirmative command. Heartland By-Products, Inc. v. United
6     States, 568 F.3d 1360, 1366 (Fed. Cir. 2009); see also D.A.M., 2020 WL 5525056,
7     at *7 (“[I]t is one thing to say that vacatur protects everyone from having an invalid
8     rule applied to them in future adjudications, and quite another to say that vacatur
9     erases from legal existence all past adjudications under the vacated rule.”). This is
10    consistent with the rule in civil litigation that when a court announces a precedential
11    rule of law, that rule “is the controlling interpretation of federal law and must be
12    given full retroactive effect in all cases still open on direct review.” Harper v. Va.
13    Dept. of Taxation, 509 U.S. 86, 97 (1993) (emphasis added). But cases that are final
14    and closed are not entitled to be reopened and readjudicated under later-announced
15    rules. See Teague v. Lane, 489 U.S. 288, 308 (1989) (“[I]t has long been established
16    that a final civil judgment entered under a given rule of law may withstand subse-
17    quent judicial change in that rule.”).
18          Applicant’s expedited-removal order became final on November 14, 2019,
19    following the immigration judge’s review of USCIS’s negative credible-fear deter-
20    mination. For that reason, the order does not violate the preliminary injunction, and
21    this Court’s inherent authority to enforce the injunction does not supply the basis to
22    enjoin Applicant’s removal.
23          B.     Applicant Fails to Establish that She was Subject to Metering.
24          Even if the preliminary-injunction order did impose obligations on the gov-
25    ernment toward class members with final rule-based removal orders issued before
26    the preliminary-injunction order, Applicant fails to establish that she was subject to
27    metering before July 16, 2019.
28          On March 25, 2020, USCIS conducted an Al Otro Lado screening interview


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1     with Applicant. See Gov’t Ex. 1, at 145–50. Applicant testified that
2                                                                     ; that
3                                              ; that
4                ; and that
5                                                             Gov’t Ex. 1, at 148. At the end
6     of the interview, the asylum officer summarized and read aloud her understanding
7     of Applicant’s responses:
8
9
10
11                                        Gov’t Ex. 1, at 148–49. The officer asked Appli-
12    cant,                             and Applicant said,          Gov’t Ex. 1, at 149. By
13    her own testimony, Applicant confirmed that she is not a member of the provisional
14    class, so it is lawful in all instances to remove Applicant pursuant to a rule-based
15    removal order.
16            Plaintiffs rely on two belated attorney declarations to argue that Applicant
17    “was subject to the Government’s metering policy prior to July 16, 2019 and is en-
18    titled to the protections of the preliminary injunction.” Mem. 4 (citing Decl. of Re-
19    becca M. Cassler and Decl. of Nicole Ramos). Plaintiffs also contend that “at least
20    in this instance[,] the Government’s screening process to identify AOL PI class
21    members failed.” Mem. 4–5. Both arguments lack merit.
22            First, the belated Cassler and Ramos Declarations do not establish that Appli-
23    cant was subject to metering before July 16, 2019. The Declaration of Rebecca M.
24    Cassler is entirely hearsay, as it merely recounts the declarant’s “understanding”
25    based on “discussions” with Applicant. Cassler Decl. ¶ 3; Fed. R. Evid. 801(c), 802.
26    Applicant has already offered untruthful testimony at least once. See Gov’t Ex. 1, at
27    37–38. Moreover, Ms. Cassler’s representations of Applicant’s statements are di-
28    rectly rebutted by contemporaneous notes from Applicant’s screening interview,


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1     which show that Applicant told a USCIS asylum officer on March 25, 2020 that
2                                                                             . Gov’t Ex. 1, at
3     148. The Cassler Declaration does not show that Applicant was subject to metering
4     before the rule’s effective date.
5           The Declaration of Nicole Ramos is not competent evidence. Ms. Ramos con-
6     tends that “Al Otro Lado’s internal records show that the last waitlist number given
7     out by CBP2 as of July 15, 2019, was #3666. Internal records also show that on July
8     16, 2019, the last waitlist number called to enter the United States was #2702.” Ra-
9     mos Decl. ¶ 9. These “internal records” are apparently based upon observations by
10    “Al Otro Lado observers,” who “monitor several data points, including the last wait-
11    list number given out each day, and the last waitlist number called for processing by
12    U.S. immigration authorities each day.” Id. ¶ 8. But these “internal records” were
13    not attached to the declaration and, to undersigned counsel’s knowledge, have not
14    been produced to Defendants. The only document attached to the declaration is a
15    purported “photocopy” of an admittedly incomplete version of the waitlist. See id.
16    at ECF p. 7. Ms. Ramos says that Al Otro Lado was “provided with a copy of the
17    waitlist by the Instituto Nacional de Migracion (National Institute of Migration),”
18    id. ¶ 17, but the document is not authenticated by anyone purporting to be the list
19    holder, and Ms. Ramos does not provide any more details about how she obtained
20    the purported excerpt from the list. Further, the incomplete photocopy does not in-
21    clude any dates indicating when an individual was added to the list or when Mexican
22    authorities called a given number from the list. Ms. Ramos admits that Al Otro Lado
23    lacks comprehensive knowledge of how the waitlist in Tijuana operates and that the
24    waitlist is not a reliable indicator of the order in which individuals arrived in Tijuana
25
26    2
        CBP does not “give[] out” numbers or manage any sort of waitlist. Ramos Decl.
27    ¶ 9; see also, e.g., Ex. 17 to Pls.’ Mot. for Summ. J., at 301:5–16 (ECF No. 535-19).
28    Even Ms. Ramos admits that “[a]t the San Ysidro port of entry, th[e] list is managed
      by Mexican authorities.” Ramos Decl. ¶ 6.

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1     or are called by Mexican authorities. See id. ¶ 11 (“Al Otro Lado has limited capacity
2     and opportunities to view the waitlist maintained by Mexican officials at the port of
3     entry in Tijuana, Mexico.”); id. ¶ 12 (describing “bribe[s]” paid to be added to the
4     waitlist). Given the lack of any dates on the face of the document and Ms. Ramos’s
5     admission that the list is not reliably managed, the photocopy does not support Plain-
6     tiffs’ contention that Applicant was unable to make a direct asylum claim at a U.S.
7     port of entry before July 16, 2019 because of metering.
8           Second, USCIS screening procedures are sufficient to identify class members.
9     USCIS conducted Applicant’s screening interviews in French through an interpreter.
10    USCIS continued the first interview at Applicant’s request to allow her to contact
11    her attorney. At the second interview,
12                                                                                 . See Gov’t
13    Ex. 1, at 146–47                                                     . Applicant know-
14    ingly chose to proceed. The asylum officer spent two hours interviewing Applicant,
15    asking Applicant multiple questions about her time in Tijuana and asking Applicant
16    to clarify ambiguities. At the end, the asylum officer summarized her understanding
17    that Applicant
18                                                                      Gov’t Ex. 1, at 148–
19    49. Applicant confirmed that                                 Gov’t Ex. 1, at 149.
20          Defendants actions are lawful, and this Court’s inherent authority to enforce
21    its own orders does not supply a basis to enjoin Applicant’s removal.
22          C.     Any Improper Application of the Rule was Harmless.
23          Even if the government had improperly applied the rule to Applicant, that er-
24    ror would have been harmless. Applicant’s testimony includes significant unex-
25    plained discrepancies that led the asylum officer to conclude that Applicant
26                                                 Gov’t Ex. 1, at 38. Applicant was given
27    several opportunities to clarify her testimony, but she failed to offer satisfactory re-
28    sponses. See Gov’t Ex. 1, at 37–38, 21–30. The immigration judge affirmed USCIS’s


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1     negative credible-fear determination on de novo review, stating:
2                                               Gov’t Ex. 2, at 14. Even if this Court’s inher-
3     ent authority supplied a basis to enjoin Applicant’s removal pursuant to the rule, it
4     does not permit an injunction for failure to otherwise show entitlement to relief.
5     II.       Plaintiffs are Not Entitled to Relief Under the Traditional Four-Factor
6               Test.
                To the extent Plaintiffs seek a separate injunction prohibiting Applicant’s re-
7
      moval independent of the Court’s authority to enforce its orders, Plaintiffs also fail
8
      to show that they are entitled to relief under the traditional four-factor test.
9
                First, Plaintiffs are unlikely to succeed on the merits because the Court does
10
      not have jurisdiction to enjoin Applicant’s removal. The INA, 8 U.S.C. § 1252,
11
      states:
12
                Notwithstanding any other provision of law (statutory or nonstatutory), in-
13
                cluding section 2241 of Title 28, or any other habeas corpus provision, and
14              sections 1361 and 1651 of such title, no court shall have jurisdiction to review
15              except as provided in subsection (e), any individual determination or to enter-
                tain any other cause or claim arising from or relating to the implementation or
16              operation of an order of removal pursuant to section 1225(b)(1) of this title.
17    8 U.S.C. § 1252(a)(2)(A)(i). This provision “‘unequivocally and unambiguously’”
18    “‘strip[s] jurisdiction over all matters relating to an immigration order or decision.’”
19    Avendano-Ramirez v. Ashcroft, 365 F.3d 813, 818 (9th Cir. 2004) (quoting Montero–
20    Martinez v. Ashcroft, 277 F.3d 1137, 1143 (9th Cir. 2002)). This includes challenges
21    to the physical removal of an alien, which Plaintiffs make here. See, e.g., Supp. Decl.
22    of Melissa Crow ¶ 13 (ECF No. 575-1) (“Plaintiffs consider [Applicant’s] removal
23    prior to her having a credible fear determination on the merits of her claim to be a
24    violation of the preliminary injunction in this case.” (emphasis added)); Avendano-
25    Ramirez, 365 F.3d at 818 (Section 1252(a)(2)(A)(i) precludes collateral attacks on
26    removal orders because such “review would necessarily involve entertaining a claim
27    arising from the removal order,” as it seeks “to nullify the continuing effects of that
28    order.”); D.A.M. v. Barr, No. 20-cv-1321, 2020 WL 4218003, at *8 (D.D.C. July 23,


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1     2020) (Section 1252(a)(2)(A) “gives the government virtually unreviewable author-
2     ity to decide whether and when to implement [aliens’] removal orders”).
3           Section 1252(a)(2)(A) permits judicial review in the limited circumstances
4     “provided in subsection (e),” but the exceptions in subsection (e) do not apply to
5     Applicant’s case. Section 1252(e)(2) permits sharply limited review in habeas cor-
6     pus “of three matters: first, ‘whether the petitioner is an alien’; second, ‘whether the
7     petitioner was ordered removed’; and third, whether the petitioner has already been
8     granted entry as a lawful permanent resident, refugee, or asylee.” DHS v. Thuraissi-
9     giam, 140 S. Ct. 1959, 1966 (2020) (quoting 8 U.S.C. § 1252(e)(2)). Plaintiffs do
10    not seek habeas review, so this subsection does not apply.
11          Section 1252(e)(3) permits challenges to the “validity of the system” that im-
12    plements expedited-removal orders, but only in the District of Columbia within 60
13    days of the challenged action. 8 U.S.C. § 1252(e)(3). So this subsection does not
14    provide a basis to review Applicant’s claim.
15          And, even if Section 1252(e)(2) or (e)(3) applied, Section 1252(e)(1) prohibits
16    the relief Plaintiffs seek. That section states: “Without regard to the nature of the
17    action or claim and without regard to the identity of the party or parties bringing the
18    action, no court may enter declaratory, injunctive, or other equitable relief in any
19    action pertaining to an order to exclude an alien in accordance with section
20    1225(b)(1) of this title except as specifically authorized in a subsequent paragraph
21    of this subsection.” 8 U.S.C. § 1252(e)(1)(A). No other subpart of Section 1252(e)
22    allows a court to enjoin an alien’s removal. See Grace v. Barr, — F. 3d —, 2020
23    WL 4032652, at *17 (D.C. Cir. July 17, 2020) (explaining that section 1252(e)(1)(A)
24    bars any equitable relief, injunctive, declaratory, or otherwise, in any “action[]” aris-
25    ing under section 1252(e)(2) “pertaining to an order to exclude an alien in accord-
26    ance with section 1225(b)(1)”); see M.M.V. v. Barr, No. 19-cv-2773, 2020 WL
27    2119744, at *4 (D.D.C. May 1, 2020). Thus, even if Section 1252(e) included an
28    exception to Section 1252(a)(2)(A)’s general prohibition on judicial review that


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1     Plaintiffs could invoke, Section 1252(e)(1) still prohibits the issuance of a stay of
2     Applicant’s removal.
3           For the same reason, Section 1252(g) divests this Court of jurisdiction over
4     Applicant’s case. That section states:
5           Except as provided in this section and notwithstanding any other provision of
6           law (statutory or nonstatutory), including section 2241 of Title 28, or any
            other habeas corpus provision, and sections 1361 and 1651 of such title, no
7           court shall have jurisdiction to hear any cause or claim by or on behalf of any
8           alien arising from the decision or action by the Attorney General to commence
            proceedings, adjudicate cases, or execute removal orders against any alien un-
9           der this chapter.
10    8 U.S.C. § 1252(g). Congress “provided in this section” (meaning Section 1252) for
11    review of challenges to removal orders in the courts of appeals. See id.
12    §§ 1252(a)(5), (b)(9). But it did not provide for the review of expedited removal
13    orders like Applicant’s. See 8 U.S.C. § 1225(b)(1)(B)(iii)(I) (“Subject to subclause
14    (III), if the officer determines that an alien does not have a credible fear of persecu-
15    tion, the officer shall order the alien removed from the United States without further
16    hearing or review.”). Further, even in the circumstances that Congress has permitted
17    judicial review (such as challenges to removal orders), Section 1252(g) would pre-
18    clude jurisdiction over Plaintiffs’ claim that Applicant fears return to Cameroon.
19    That argument “directly implicates the government’s discretionary authority to re-
20    turn noncitizens to their native countries,” which is precisely what Section 1252(g)
21    guards against. D.A.M., 2020 WL 4218003, at *9 (citing AADC, 525 U.S. at 482);
22    see also Jimenez-Angeles v. Ashcroft, 291 F.3d 594, 599 (9th Cir. 2002) (“We con-
23    strue § 1252(g), which removes our jurisdiction over ‘decision[s] ... to commence
24    proceedings’ to include not only a decision in an individual case whether to com-
25    mence, but also when to commence, a proceeding.”). Plaintiffs’ claims fail on the
26    merits because Section 1252 divests this Court of jurisdiction over their arguments.
27          Second, Plaintiffs fail to show that the balance of the equities and the public
28    interest favors a stay of removal. Class counsel attests that Applicant fears returning

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1     to Cameroon, but Applicant’s own testimony was so inconsistent that the asylum
2     officer could not be sure of Applicant’s true identity. Moreover, Applicant, through
3     counsel, twice sought reconsideration of her negative credible-fear determination.
4     She also received an Al Otro Lado screening interview. But she never claimed or
5     established that she was entitled to the benefits of the Al Otro Lado preliminary in-
6     junction. Enjoining her removal at the eleventh hour based on arguments that she for
7     months has not chosen to pursue undermines the “public interest in prompt execution
8     of removal orders,” as “[t]he continued presence of an alien lawfully deemed remov-
9     able undermines the streamlined removal proceedings [that Congress] established,
10    and ‘permit[s] and prolong[s] a continuing violation of United States law.’” Nken,
11    556 U.S. at 436 (quoting AADC, 525 U.S. at 490); see also Landon v. Plasencia, 459
12    U.S. 21, 34 (1982), and E. Bay Sanctuary Covenant v. Trump, 950 F.3d 1242, 1281
13    (9th Cir. 2020) (noting the government’s and the public’s weighty “interest in the
14    efficient administration of the immigration laws at the border” (citation and quota-
15    tion marks omitted).
16          Plaintiffs thus fail to establish their entitlement to emergency injunctive relief
17    either under the four-factor test, or as a matter of this Court’s inherent authority.
18                                       CONCLUSION
19          This Court should deny Plaintiffs’ Ex Parte Motion to stay Applicant’s re-
20    moval.
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1                              CERTIFICATE OF SERVICE
2               Al Otro Lado v. Wolf, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3           I certify that I served a copy of this document and its attachments on the Court
4     and all parties by filing this document with the Clerk of the Court through the
5     CM/ECF system, which will provide electronic notice and an electronic link to this
6     document to all counsel of record.
7
8     DATED: September 25, 2020              Respectfully submitted,
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